     Case 16-24825-JAD             Doc 21-5 Filed 06/09/17 Entered 06/09/17 13:18:18                    Desc
                                       Proposed Order Page 1 of 1
                                                                                                FORM JAD- 003
                                                                                                         2/12
                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

JOHN W. SORENSEN                                            :   Bankruptcy Case No. 16-24825-JAD
CAMBRIA L. SORENSEN                                         :
           Debtor(s)                                        :   Chapter 7
                                                            :
    Natalie Lutz Cardiello, Trustee                         :   Doc. #
         Movant                                             :
                                                            :   Related to Doc. #
        v.                                                  :
                                                            :
   NO RESPONDENT                                            :

                     ORDER APPROVING RETENTION OF REALTOR/BROKER

       AND NOW, this ____ day of _____________________, 20____, upon consideration of the
TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND
COLDWELL BANKER REAL ESTATE TO PROCURE CONSENTED PUBLIC SALE PURSUANT
TO 11 U.S.C. §§327, 328 AND 330, it is ORDERED, ADJUDGED and DECREED as follows:

           1. The above referenced Application is hereby approved as of the date the Application was filed.

        2. BK Global Real Estate Services and Coldwell Banker Real Estate are hereby appointed as
Realtor for the Trustee in this bankruptcy proceeding pursuant to the terms described in the listing
agreements attached to the Application for the purpose of acting as the Trustee’s Broker in connection
with the sale of real estate located at 622 Bascom Avenue, Pittsburgh, PA 15212. A realtor commission
in the amount of 6% on the sale price is tentatively approved, subject to final court order.

        3. Professional persons or entities performing services in the above case are advised that
approval of fees for professional services will be based on other factors as well including results
accomplished, the time and labor reasonably required by the applicant to perform the task(s) involved,
the customary fee for similar services, the time limitations imposed by the retention or the circumstances
encountered while performing the services, the relationship of the services, if any, to the ultimate bid
amount for the subject property, and the extent and nature of awards in similar cases.

        4. Approval of any application for appointment of a professional in which certain fees are
requested is not an agreement by the Court to allow such fees in the requested amount. Final
compensation, as awarded by the Court after notice and hearing, may be more or less than the requested
amount based on application of the above criteria.

           5. Applicant shall serve the within Order on all interested parties and file a certificate of
service.


Cc: Trustee                                               _______________________________
    Debtor                                                JEFFERY A. DELLER, Chief Judge
   Counsel
   Realtor/Broker                                         United States Bankruptcy Court
   Office of the U.S. Trustee
